UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
AVI & CO NY CORP.,                                             :
                          Plaintiff,                          :
        -against-                                             :    Case No. 22-cv-10599 (PAE)
CHANNELADVISOR CORPORATION,                                   :
                          Defendant.                          :
---------------------------------------------------------------x
                DEFENDANT CHANNELADVISOR CORPORATION’S
                   NOTICE OF MOTION TO TRANSFER VENUE

        Pursuant to 28 U.S.C. § 1404(a), defendant ChannelAdvisor Corporation

hereby moves to transfer this action to the United States District Court for the

Eastern District of North Carolina, Western Division, on the grounds that the parties

agreed to the courts of Wake County, North Carolina as the exclusive jurisdiction for

this action and that transfer is in the interests of justice. In support of this motion,

ChannelAdvisor Corporation relies on its Memorandum of Law, the accompanying

declarations of Richard Cornetta and Jeffrey L. Roether, and the pleadings and other

papers filed in this action.

                                        [Signature Page Follows]




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Dated: March 2, 2023              Respectfully submitted,
                                  MORNINGSTAR LAW GROUP


                                  _/s/ Jeffrey L. Roether
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                                  Corporation




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                           CERTIFICATE OF SERVICE


      The undersigned hereby certifies that a copy of the foregoing Defendant

ChannelAdvisor Corporation’s Notice of Motion to Transfer Venue and the

accompanying Declarations of Richard Cornetta and Jeffrey L. Roether were this day

served on all counsel of record via the Court’s electronic filing system.


Dated: March 2, 2023.



                                        MORNINGSTAR LAW GROUP

                                           /s/ Jeffrey L. Roether




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